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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION


  ALEKSEJ GUBAREV,
  XBT HOLDING S.A., and
  WEBZILLA, INC.                                                      Case No.
    Plaintiffs,
                                                                 0:17-cv-60426-UU
  v.

  BUZZFEED, INC. and
  BEN SMITH
    Defendants.


                                    JOINT STATUS REPORT

         The Parties, Plaintiffs Aleksej Gubarev, XBT Holding, S.A., and Webzilla, Inc. and
  Defendants BuzzFeed, Inc. and Ben Smith, by and through undersigned counsel and pursuant to
  this Court’s November 13, 2017 Status Conference Order [D.E. 90], hereby submit the following
  Joint Status Report:


  1.     The status of any unresolved discovery disputes
         Plaintiffs have yet to produce certain categories of documents that they previously agreed
  to produce to Defendants. Defendants have asked Plaintiffs to produce those documents on or
  before January 10, 2018. Plaintiffs’ counsel are working to obtain from their clients the
  responsive documents and to review and produce them as expeditiously as possible.
         Plaintiffs served a second round of written discovery on Defendants on November 28,
  2017 (Plaintiffs’ First Set of Interrogatories to Defendant Ben Smith and Plaintiffs’ Second
  Request for Production of Documents and Things to Defendant BuzzFeed, Inc.). Defendants
  requested an extension to January 9, 2018 to respond to these discovery requests.
         In addition, Defendants subpoenaed Constantin Luchian, an employee of Webzilla, Inc.,
  who is represented by Plaintiffs’ counsel, and Mr. Luchian has objected to the production of
  certain documents Defendants believe to be responsive to that subpoena. The parties are still
  negotiating the subpoena response.
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  2.     The status of any unresolved legal issues bearing upon discovery
         None at the present time.


  3.     The status of discovery from third parties including Christopher Steele and persons
  and entities within the United States’ government
         Plaintiffs’ Third Party Discovery Statement
         Mr. Steele, through his British counsel, has been resisting sitting for his deposition. A
  hearing is currently scheduled for February 5, 2018 to determine if the order requiring Mr. Steele
  to sit for his deposition will be set aside or modified in any respects.
         Fusion GPS has filed a motion to quash the subpoena served upon it in Washington, DC.
  The motion has been fully briefed and awaiting action by the Court for a number of months.
         In addition, Plaintiffs took the deposition of third-party David Kramer on December 13,
  2017. At the time, Mr. Kramer’s attorney designated the transcript as Confidential-Attorneys’
  Eyes Only pursuant to the Protective Order entered by the Court. Also pursuant to that
  Protective Order, Plaintiffs have informed Mr. Kramer’s counsel that they object to the
  confidentiality designation. Mr. Kramer’s attorney has indicated that he intends to move for a
  protective order maintaining the current designation of Mr. Kramer’s testimony.
         Defendants’ Third Party Discovery Statement
         As the Court is aware, the Defendants have moved to compel the United States
  government to produce testimony responsive to their subpoena. The motion to compel is fully
  briefed. Judge Mehta of the United States District Court for the District of Columbia has set a
  hearing on the motion for February 15, 2018.
         Next, Defendants have subpoenaed the Democratic National Committee (“DNC”) for
  information related to the hacking of its computer systems by Russians, which is relevant to this
  litigation because the central allegation in the complaint is that Defendants defamed Plaintiffs by
  publishing the Steele Dossier, which stated that Plaintiffs or entities linked to them were
  involved in the hack of the DNC. On January 5, 2018, the DNC informed Defendants that it
  would object to the subpoena and not produce any responsive documents. Defendants will move
  to compel compliance with the subpoena in the United States District Court for the District of


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  Columbia. Defendants are also still negotiating the scope of other outstanding third party
  subpoenas and may need to move to compel compliance.
           Finally, Defendants will be bringing a motion for the issuance of several Letters of
  Request to various banks in Cyprus and The Netherlands. These banks were identified by
  Plaintiffs in December as individuals who have information about their alleged damages.


  4.       Whether the Court’s Scheduling Order should be amended to extend the discovery
  period
           Plaintiffs do not believe that the Scheduling Order should be amended to extend the
  discovery period.
           Defendants respectfully request an extension of discovery because they believe it is
  unlikely that all of the outstanding, non-party discovery can be completed before March 15,
  2018.


  5.       A summary of any pending motions
           There are no motions currently pending. It is Plaintiffs’ intent to file forthwith a motion
  concerning the inapplicability of the Fair Report and Neutral Report Privileges asserted by the
  Defendants.


  6.       Any unique legal or factual aspects of the case requiring special consideration by the
  Court
           This litigation may involve discovery abroad and substantial discovery from government
  agencies and former employees. In addition, due to the nature of the allegations in the dossier
  about Plaintiffs, Defendants assert there will be substantial technical discovery and expert
  testimony regarding the Plaintiffs’ networks.
           In addition, the parties disagree as to the applicability and scope of the fair and true report
  privilege, the neutral reporting privilege, and the reporters’ privilege in this action. Consistent
  with this Court’s recommendation, Plaintiffs intend to file a Motion for Judgment on the
  Pleadings as to the Fair Reporting Privilege and the Neutral Reporting Privilege. Defendants
  reserve their right to file a motion to amend the answer in response to such a motion.


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         Questions as to whether the Plaintiffs are public or private figures will also likely be
  brought before the Court.
         Questions as to which state law will apply to the present action will also be presented to
  the Court.
         Finally, third parties may move to quash the subpoenas served on them on either the
  reporters’ privilege or national security grounds.


  7.     The status of potential settlement
         The parties have agreed to a mediation before John S. Freud. The mediation is currently
  scheduled for March 13, 2018. The parties have not recently discussed settlement.


  8.     Such other matters as may aid the Court in the fair and expeditious administration
  and disposition of this action
         It is Plaintiffs’ intent to file forthwith a motion concerning the inapplicability of the Fair
  Report and Neutral Report Privileges asserted by the Defendants.
         Defendants would like to raise with the Court Plaintiffs’ efforts in London to vary the
  Letter of Request to Mr. Steele.




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  Date: January 5, 2018

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                                   CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically
  via the CM/ECF electronic filing system on all counsel or parties of record on the service list
  below on January 5, 2018.


                                                     /s/ Jared Lopez
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